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1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                     ***

4
      UNITED STATES OF AMERICA,
5
                          Plaintiff,
6                                                        2:16-cr-00046-GMN-PAL
      vs.                                                ORDER
7     O. SCOTT DREXLER,
8                          Defendant.
9           Before the court is Defendant's Motion to Re-Open Detention Hearing (#268).
10          IT IS HEREBY ORDERED that any opposition must be filed on or before April 29, 2016. Any
11   reply in support of Defendant's Motion to Re-Open Detention Hearing (#268) must be filed on or before
12   May 6, 2016.
13          IT IS FURTHER ORDERED that a hearing on Defendant's Motion to Re-Open Detention Hearing
14   (#268) is scheduled for May 10, 2016 at 3:00 p.m., in courtroom 3D.
15          DATED this 19th day of April, 2016.
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                                                               CAM FERENBACH
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                                                               UNITED STATES MAGISTRATE JUDGE

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